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LAW OFFICES OF WILLIAM C. REIL
BY: WILLIAM C. REIL, ESQUIRE
Identification No. 26833
1420 Locust Street, Suite 420
Philadelphia, PA 19102
215-564-1635                                          ATTORNEY FOR PLAINTIFF
TRISHA TSHUDY                 :                       UNITED STATES DISTRICT
762 Palmyra Bellegrove Road   :                       COURT FOR THE EASTERN
Annville, PA 17003            :                       DISTRICT OF PENNSYLVANIA
                              :
             v.               :
                              :                       2:22-cv-03336
PENNSYLVANIA STATE UNIVERSITY :
1600 Woodland Road            :
Abington, PA 19001            :                       JURY TRIAL DEMANDED

                    PLAINTIFF’S AMENDED MOTION FOR
              A PERMANENT AND/OR PRELIMINARY INJUNCTION

       Plaintiff, Trisha Tshudy, through her undersigned counsel, requests the Court to

Order a Preliminary and/or Permanent Injunction, and in support thereof, it is averred

as follows:

Introduction

       The plaintiff filed a complaint and motion for a permanent and/or preliminary

injunction on August 21, 2022. Defendant’s counsel has agreed to accept service.

There was a status conference with the Court on 8/26/22. The Court issued an Order on

that date dismissing plaintiff’s motion for injunctive relief without prejudice. This

amended motion is in response to the Court’s Order.

       Plaintiff was to begin classes at Dickinson Law School on 8/22/22.

       1. The plaintiff is Trisha Tshudy, who is an adult individual residing at the

address in the caption and is a law student at Pennsylvania State University, Dickinson

Law School, who is going into her third and final year.

       2. Ms. Tshudy received a scholarship to Dickinson Law School in 2019.
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        3. Plaintiff has suffered from neurological Lyme disease and immunological

problems since 2009, for which she received a disability accommodation from

defendant.

        4. Plaintiff received accommodations from Penn State University arising out of

her immunological disorder which consisted of, inter alia, taking her classes and tests

on-line to prevent the life-threatening exposure as a member of the COVID-19 high-

risk community.

        5. Penn State University discriminated against the plaintiff by revoking her

remote accommodation at the end of the semester and forcing her onto campus despite

the life-threatening risk it entailed. This resulted in severe illness as expected.

        6. When this resulted in severe illness as expected, Penn State

University further discriminated by refusing to communicate any alternatives to

mitigate the academic detriment.

        7. Ms. Tshudy received an honor code violation based on the analysis of the

machine Turnitin. The University rejected an analysis more favorable to the plaintiff

from a similarity-checker like Turnitin. Immediately after inquiring about any

affirmative action review of what transpired, plaintiff received a letter on February 16,

2022 from Dean Conway revoking her scholarship as a result of these findings.

        8. Plaintiff has not been technically dismissed from law school and is eligible to

attend, but her scholarship has been revoked and she has been illegally blocked from

attending law school by the administration at Dickinson.

        9. The defendant is Pennsylvania State University, a university of the

Commonwealth of Pennsylvania with address in the caption. At all times material

herein, the defendant was a state actor.

        10. On or about 08/21/22, plaintiff filed a complaint for violation of her
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constitutional rights, alleging that her scholarship was illegally revoked and she was

barred from attending her third year at Dickinson Law School.

        11. Plaintiff is currently eligible to attend her third year of law school based on

her GPA, if the administration had not retaliated against her and refused to let her start

classes, which began on 8/22/22.

        12. Unless defendant is enjoined from revoking plaintiff’s scholarship and

required externship, she will suffer immediate and irreparable harm for which plaintiff

has no adequate remedy at law. If plaintiff is illegally barred from attending law school,

her career as a lawyer will be terminated. No amount of money can compensate

plaintiff for the loss of the status and satisfaction as an attorney, or the ability to right

wrongs in the public interest.

        13. Plaintiff will be irreparably harmed, if she is not allowed to attend her third

year of law school, because that will keep plaintiff from graduating and taking the bar

exam.

        14. Plaintiff is illegally being barred from completing her third year at

Dickinson Law School arising out of the letter which she received on 02/16/22

revoking her scholarship. A true and correct copy of this letter is attached and

incorporated as Exhibit “A” to the complaint.

        15. Plaintiff’s complaint is incorporated herein.

        16. It is averred that plaintiff’s right to relief is clear:

            (a) Plaintiff is eligible, but is being blocked from attending law school as

            retaliation for the exercise of her rights attendant to disability

            accommodations;

            (b) Plaintiff received inappropriate due process when she was forced to

            confront a machine at her honor code hearing;
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            (c) Evidence was illegally accepted from Turnitin where there were no

            standards for such a machine, and plaintiff did not consent to the submission

            of her paper to this similarity checker;

            (d) Ms. Tshudy was ultimately banned from the law school by defendant

            when she sought to assert her disability rights;

            (e) Plaintiff’s First Amendment rights were violated when she was

            instructed by Dean Conway not to discuss with any employees the Bursar’s

            statement that her scholarship was illegally revoked, and the defendant used

            this to prevent any communication that could lead to temporary resolution

            of the plaintiff’s account;

            (f) Plaintiff’s rights of due process were further violated when she was

            denied counsel, a hearing with cross-examination, and the ability to confront

            her accuser.

        17. Plaintiff avers that she is likely to succeed on the merits of her claim, as

heretofore stated. For this reason, defendant is blocking her access to the law school,

until it is too late for her to attend.

        18. The public interest in having competent lawyers exceeds any temporary

inconvenience to the university, while plaintiff is attending law school.

        WHEREFORE, Plaintiff requests the Court to award appropriate legal,

equitable and injunctive relief.



                                                               Respectfully submitted,
                                                               /s/ William C. Reil
                                                               William C. Reil, Esquire
                                                               Attorney for Plaintiff
                                                               08/30/22
